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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

   Case No.    CV 85-4544-DMG (AGRx)                                  Date     September 27, 2019

   Title Jenny L. Flores v. William Barr, et al.


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 Kane Tien                                              Lisa Gonzalez
                Deputy Clerk                                            Court Reporter

      Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
                Peter Schey                                       August E. Flentje, USDOJ
             Carlos R. Holguin                                    Jeffrey S. Robins, USDOJ
              Holly S. Cooper
               Leecia Welch
                Neha Desai

   Proceedings: PLAINTIFFS' MOTION TO ENFORCE SETTLEMENT [516]

                 DEFENDANTS’ NOTICE OF TERMINATION OF FLORES
                 SETTLEMENT AGREEMENT AND MOTION IN THE ALTERNATIVE
                 TO TERMINATE THE FLORES SETTLEMENT AGREEMENT [639]

          The cause is called and counsel state their appearance. The Court invites counsel to
   respond to the tentative ruling. Plaintiffs submit on the tentative ruling. The Court hears from
   Defendants. The motions shall be taken under submission and a written order will issue.




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   CV-90                              CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
